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10                              IN THE UNITED STATES DISTRICT COURT

11                                 EASTERN DISTRICT OF CALIFORNIA

12

13   CENTER FOR BIOLOGICAL DIVERSITY;                   CASE NO. 1:20-cv-00706-DAD-EPG
     RESTORE THE DELTA; and PLANNING
14   AND CONSERVATION LEAGUE,                           FEDERAL DEFENDANTS’
                                                        MOTION TO STAY NOTICED TO
15                                 Plaintiffs,          MAY 4, 2021
16   v.
17   UNITED STATES BUREAU OF                            Date:      May 4, 2021
     RECLAMATION, et al.,                               Time:      9:30 a.m.
18                                                      Courtroom: 5
                                   Defendants.          Judge:     Hon. Dale A. Drozd
19

20
                        TO ALL PARTIES AND THEIR COUNSEL OF RECORD
21

22          PLEASE TAKE NOTICE that on May 4, 2021, at 9:30 a.m., or as soon thereafter as counsel

23 may be heard, in the courtroom of the Honorable Dale A. Drozd, located in the United States District

24 Court for the Eastern District of California, Fresno Division, Federal Defendants will and hereby do

25
     move to stay this case until May 12, 2021. Federal Defendants do not request oral argument and
26
     believe the motion can be decided on the papers.
27

28

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                                  FEDERAL DEFENDANTS’ MOTION TO STAY
 1
              This is one of three cases pending before this Court which challenge the United States’
 2

 3 implementation of the Water Infrastructure Improvements for the Nation Act (“WIIN Act”), Pub. L.

 4 No. 114-322, § 4011 (2016).1 After the Hoopa Valley Tribe asked the United States Department of

 5 Interior to review its implementation of the WIIN Act, Federal Defendants filed a Motion to Stay the

 6
     Hoopa Valley case. See Hoopa Valley, ECF No. 47. This Court granted the United States a 60 day
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     stay on until May 12, 2021. Hoopa Valley, ECF No. 48. Because the new Administration’s review
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     could affect this case and because it will be most efficient to address these three closely related cases
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                        2
10 on the same schedule, Defendants now move to stay this case until May 12, 2021. Plaintiffs oppose

11 this motion.

12                                                      BACKGROUND
13            In 2016 Congress passed the WIIN Act to, among other things, allow CVP water contractors
14
     to prepay CVP-related construction debts they owed to the United States. Pub. L. No. 114-322, §
15
     4011(a), 130 Stat. 1628, 1878 (2016). Since the WIIN Act was passed, 79 out of approximately 198
16
     eligible CVP water contractors have requested contract conversions. Declaration of Lisa M. Holm,
17

18 March 11, 2021 ¶ 5, attached as Exhibit A. Some of the requesting contractors have more than one

19 contract; the Federal Defendants have already converted 68 contracts, and 21 more are currently

20 being negotiated.3 Id. ¶ 6. In response to the WIIN Act contract conversions, Center for Biological

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     Diversity, Restore the Delta, and Planning and Conservation League (collectively, Plaintiffs) filed
22
     this lawsuit.
23

24   1
           The other two cases are North Coast Rivers Alliance v. United States Department of the
25 Interior, No. 1:16-cv-00307-DAD-SKO (hereinafter, “North Coast”) and Hoopa Valley Tribe v.
   United States Bureau of Reclamation, 1:20−cv−01814−DAD-EPG (hereinafter, “Hoopa Valley”).
26 2       As the Federal Defendants indicated in our motion to stay the Hoopa Valley case, Federal Defendants intend to
     consolidate the three cases at the conclusion of the stay, assuming a stay is granted.
27
     3
              The Federal Defendants do not anticipate executing any additional converted contracts prior to May
28 12, 2021.

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             The Plaintiffs claim the Federal Defendants violated the National Environmental Policy Act
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     (NEPA) by converting water service contracts under the WIIN Act without first preparing an
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 3 Environmental Impact Statement or Environmental Assessment. Additionally, the Plaintiffs have

 4 been granted leave to amend their complaint to assert that the Federal Defendants violated the

 5 Endangered Species Act by failing to engage in consultation or seek the concurrence of the United

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     States Fish and Wildlife Service and the National Marine Fisheries Service before approving the
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     WIIN Act contract conversions. The CBD Plaintiffs’ request declaratory, injunctive and monetary
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     relief, asking that the converted contracts be invalidated, that the Federal Defendants be enjoined
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10 from converting additional contracts until the government complies with NEPA and the ESA. The

11 Court recently granted the Federal Defendants’ Motion to Compel Joinder of Absent Water

12 Contractors. Id., ECF No. 23.

13                                                   DISCUSSION
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             A district court has discretion to stay litigation pursuant to its inherent power to control its
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     own docket. Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). “A trial court may, with propriety,
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     find it is efficient for its own docket and the fairest course for the parties to enter a stay of an action
17

18 before it, pending resolution of independent proceedings which bear upon the case.” Mediterranean

19 Enters., Inc. v. Ssangyong Corp., 708 F.2d 1458, 1465 (9th Cir. 1983). When reviewing a stay

20 request, courts generally consider five factors:

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             1) the interest of the plaintiffs in proceeding expeditiously with this litigation or any
22              particular aspect of it, and the potential prejudice to plaintiffs of a delay;

23           2) the burden which any particular aspect of the proceedings may impose on defendants;
24           3) the convenience of the court in the management of its cases, and the efficient use of
                judicial resources;
25

26           4) the interests of persons not parties to the civil litigation; and

27           5) the interest of the public in the pending civil and criminal litigation.
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     Hoopa Valley, ECF 49 at 1 (citing Keating v. Office of Thrift Supervision, 45 F.3d 322, 324-25 (9th
 1
     Cir. 1995)). Just as this Court concluded in Hoopa Valley, “applying these factors to this case, a
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 3 stay is appropriate.” Id. at 2.

 4          With the recent change in Administration, the Federal Defendants have received multiple
 5 requests for litigation stays from various parties so that the incoming Administration can review

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     pending litigation, including this WIIN Act litigation. A brief stay will allow the incoming
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     Administration, which is not fully staffed and is currently analyzing many other cases, to review this
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     important case (and its companion cases). A stay will further the parties’ and the Court’s interest in
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10 efficiency by allowing Federal Defendants to establish their position prior to merits briefing. The

11 stay will further serve the interests of efficiency by allowing all three related cases to proceed on the

12 same schedule once the stay ends. Finally, the Federal Defendants believe that a stay will not

13 prejudice Plaintiffs. While Plaintiffs, like all litigants, no doubt want to resolve their claims as

14
     expeditiously as possible, there is nothing about this case that demands expedited consideration.
15
            Therefore, the United States respectfully requests that the Court stay these proceedings until
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     May 12, 2021.
17

18                   Dated: April 2, 2021

19
                                                     Respectfully submitted,
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                                                     JEAN E. WILLIAMS
21                                                   Acting Assistant Attorney General
22                                                   /s/ David W. Gehlert
23                                                   DAVID W. GEHLERT
                                                     Trial Attorney
24                                                   U.S. Department of Justice

25                                                   Attorney for Defendants
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 1                                      CERTIFICATE OF SERVICE
 2
            I hereby certify that on April 2, 2021, I electronically filed the foregoing MOTION TO
 3
     STAY with the Clerk of Court using the ECF system, which will automatically send email
 4
     notification to the attorneys of record.
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 6
                                                /s/ David W. Gehlert
 7                                              DAVID W. GEHLERT

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